Case 0:17-cv-60426-UU Document 291 Entered on FLSD Docket 11/05/2018 Page 1 of 6




                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/


    DEFENDANTS’ MOTION IN LIMINE NO. 6 TO PRECLUDE PLAINTIFFS FROM
   PRESENTING EVIDENCE OF ALLEGED DAMAGES TO FAMILY MEMBERS OF
  PLAINTIFF ALESKEJ GUBAREV AND INCORPORATED MEMORANDUM OF LAW
            Defendants move for an order precluding Plaintiffs from presenting evidence at trial
  relating to any alleged damages to family members of Aleksej Gubarev. Throughout Plaintiffs’
  discovery responses, Gubarev referenced purported damages to his family members. Defendants
  anticipate that Plaintiffs will attempt to introduce similar statements at trial. Such statements,
  which relate to damages allegedly incurred by non-parties, are irrelevant and highly prejudicial.
  For these reasons, Plaintiffs should be precluded from introducing such testimony in these
  proceedings.
                                     FACTUAL BACKGROUND
            The Plaintiffs in this lawsuit are limited to XBT Holding S.A., Webzilla, Inc. and Aleksej
  Gubarev. They brought this lawsuit alleging Defamation and Defamation per se related to
  Defendants’ publication of the Dossier. They complain about a paragraph on the final page of
  the Dossier that refers to “XBT/Webzilla and its affiliates” and “Aleksei Gubarov.” In their
  Complaint, Plaintiffs claimed injuries only to XBT Holding S.A., Webzilla, Inc., and Gubarev.
  Ex. 1 (Complaint) ¶¶ 46-50.
            Notwithstanding the limited parties to this lawsuit, during discovery Gubarev made
  repeated statements concerning alleged damages to non-parties. Specifically, Gubarev
  referenced harm to his wife and mother. Ex. 2 (Interrogatory Responses) at 5-6.
Case 0:17-cv-60426-UU Document 291 Entered on FLSD Docket 11/05/2018 Page 2 of 6




         In response to Defendants’ Interrogatory No. 10, seeking specificity with respect to “each
  element of damage that you claim in this action,” Gubarev stated:




                        Similarly, when asked during his deposition to describe his personal
  damages, Gubarev again made statements concerning alleged damages to his family members:




                                          ARGUMENT
         Defamation is a tort personal to the party defamed. McBeth v. United Press Int’l, Inc.,
  505 F.2d 959, 960 (5th Cir. 1974); Miracle v. New Yorker Magazine, 190 F. Supp. 2d 1192, 1199



                                                 2
Case 0:17-cv-60426-UU Document 291 Entered on FLSD Docket 11/05/2018 Page 3 of 6




  (D. Haw. 2001); Davis v. Costa-Gavras, 619 F. Supp. 1372, 1376 (S.D.N.Y. 1985); Gugliuzza v.
  K.C.M.C., Inc., 606 So. 2d 790, 791-92 (La. 1992); Coulon v. Gaylord Broad., 433 So. 2d 429,
  431 (La. Ct. App. 1983); see also Prosser & Keeton, The Law of Torts § 111 (1984 ed. & Supp.
  1988). Plaintiffs may not recover for derivative injuries that may be sustained by other
  individuals as a result of the defamation of Plaintiff. See Talbot v. Johnson Newspapers Corp.,
  508 N.Y.S.2d 80, 83 (N.Y. App. Div. 1986) (defamed plaintiff cannot recover for spouse’s
  injuries caused by the defamation of plaintiff); see also Sethi v. WFMJ Television Inc., 732
  N.E.2d 451, 462-63 (Ohio Ct. App. 1999); Hughes v. New England Newspaper Publ’g Co., 43
  N.E.2d 657, 658-59 (Mass. 1942); Lee v. Weston, 402 N.E.2d 23, 27-28 (Ind. Ct. App. 1980).
  Similarly, a plaintiff cannot recover for defamation of someone else, even it causes the plaintiff
  injury. Fowler v. Curtis Publ’g Co., 78 F. Supp. 303, 304 (D.D.C. 1948), aff’d, 182 F.2d 377
  (D.C. Cir. 1950) (“A person who is injured by reason of the fact that someone else is libeled, has
  no right of recovery.”); Wehling v. Columbia Broad. Sys., 721 F.2d 506, 509 (5th Cir. 1983)
  (wife has no cause of action for husband’s defamation); Sethi, 732 N.E.2d at 462-63; Gugliuzza,
  606 So. 2d at 791-92 (no cause of action for defamed decedent’s relatives); Geddes v. Princess
  Props. Int’l, Ltd., 451 N.Y.S.2d 150 (N.Y. App. Div. 1982) (spouse of defamed person has no
  cause of action for mental anguish and suffering).
         The elements necessary to establish defamation under Florida law are consistent with
  these principles: only the party that has been defamed may recover for damages suffered. See
  Thompson v. Orange Lake Country Club, Inc., 224 F. Supp. 2d 1368, 1376 (M.D. Fla. 2002) (the
  elements of a claim of defamation are: a false statement, about the plaintiff; to a third party; and
  the party suffered damages as a result of the publication) (emphasis added); Buckner v. Lower
  Fla. Keys Hosp. Dist., 403 So. 2d 1025, 1027 (Fla. 3d DCA 1981). Through these elements,
  Florida law precludes individuals who are not the subject of the alleged defamatory statement
  from establishing a claim of defamation. Id.
         Likewise, and consistent with courts across the nation, Florida law mandates that
  damages from the alleged defamatory statement relate back to the party, precluding derivative
  injuries. Id. Consequently, any evidence concerning purported damages sustained by
  individuals other than those who are the subject of the “false statement” or who are a “party” to
  the lawsuit is irrelevant to the claim of defamation. Pursuant to Fed. R. Evid. 402, only relevant




                                                    3
Case 0:17-cv-60426-UU Document 291 Entered on FLSD Docket 11/05/2018 Page 4 of 6




  evidence is admissible at trial. Accordingly, evidence and testimony of any damages sustained
  by non-parties is irrelevant and should be excluded from trial.
         As applied to the facts here, neither Gubarev’s wife, mother, nor any other family
  member was identified in the Dossier. As these people were not the subject of the alleged
  defamatory conduct, they cannot be parties to the lawsuit and Plaintiffs correctly did not include
  them as parties to this litigation. Similarly, Plaintiff may not recover for any damages these non-
  party individuals may have suffered as a result of the alleged defamation of Plaintiff.
  Nonetheless, in a backdoor attempt to broaden the scope of damages at issue, Plaintiffs
  impermissibly seek to introduce evidence of alleged damages to Gubarev’s family members.
  There is no basis for such recovery of damages. First, none of the subject statements relate to
  Gubarev’s wife, his mother, or any other member of his family. Second, damages are those
  suffered by “the party,” which ‒ by definition ‒ excludes non-parties. As such, any evidence or
  testimony of purported damages to Gubarev’s wife, mother, or other family members should be
  excluded from trial.
         In addition to being irrelevant, the introduction of alleged damages suffered by Gubarev’s
  family members at trial would be highly prejudicial to Defendants. Evidence of these alleged
  damages are expected to be highly emotional as a result of the obvious deep loyalty and affection
  Gubarev’s wife and mother have for him. However, not only is this evidence irrelevant for the
  reasons stated above,




  Furthermore, this testimony could not easily be challenged or disproved through evidence or
  cross-examination, thereby limiting Defendants from providing any meaningful refutation to the
  emotionally charged testimony. Because Defendants would be highly prejudiced and the
  evidence has no probative value on any issue of fact, preclusion under Fed. R. Evid. 403 is
  warranted.
                                             CONCLUSION
         For the reasons set forth herein, Defendant respectfully request that this Court preclude
  Plaintiffs from offering evidence of damages to non-parties as the trial.




                                                   4
Case 0:17-cv-60426-UU Document 291 Entered on FLSD Docket 11/05/2018 Page 5 of 6




  Dated: October 29, 2018       Respectfully submitted,

                                /s/ Katherine M. Bolger
                                Katherine M. Bolger
                                Nathan Siegel
                                Adam Lazier
                                Alison Schary
                                Davis Wright Tremaine LLP
                                1251 Avenue of the Americas, 21st Floor
                                New York, New York 10020
                                katebolger@dwt.com
                                nathansiegel@dwt.com
                                adamlazier@dwt.com
                                alisonschary@dwt.com

                                /s/ Roy Black
                                Roy Black
                                Jared Lopez
                                Black, Srebnick, Kornspan & Stumpf, P.A.
                                201 So. Biscayne Boulevard
                                Miami, Florida 33131
                                rblack@royblack.com
                                jlopez@royblack.com

                                Attorneys for Defendants




                                        5
Case 0:17-cv-60426-UU Document 291 Entered on FLSD Docket 11/05/2018 Page 6 of 6




                                    CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
  will be served electronically by email on all counsel or parties of record on the service list below
  this 12th day of October, 2018.



                                                By: /s/ Adam Lazier
                                                        Adam Lazier




                                           SERVICE LIST

         Matthew Shayefar
         Valentin D. Gurvits
         BOSTON LAW GROUP, PC
         825 Beacon Street, Suite 20
         Newton Centre, Massachusetts 02459
         Telephone: 617-928-1806
         Facsimile: 617-928-1802
         matt@bostonlawgroup.com
         vgurvits@bostonlawgroup.com

         Evan Fray-Witzer
         CIAMPA FRAY-WITZER, LLP
         20 Park Plaza, Suite 505
         Boston, Massachusetts 02116
         Telephone: 617-426-000
         Facsimile: 617-423-4855
         Evan@CFWLegal.com

         Brady J. Cobb
         Dylan Fulop
         COBB EDDY, PLLC
         642 Northeast Third Avenue
         Fort Lauderdale, Florida 33304
         Telephone: 954-527-4111
         Facsimile: 954-900-5507
         bcobb@cobbeddy.com
         dfulop@cobbeddy.com




                                                   6
